Case 1:11-cy-01226-RHB ECF No. 51-3, PagelD.818 Filed 01/16/12 Page 1 of 2

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Page 1 of 1

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Home

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Transactions
Batch Status
Reports

Payment
Export

Maintenance

Users

Documentation |

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Graham Penman L - IOLTA

Batch 13534358, IOLTA Jan 28 2017 2:09PM EST

Account MSM Graham and Penman LLP IOLTA
Scanned By nhouston

Approved By 22093super
Payment Status Processed
Amount 100,000.00

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Remote Deposit

Page 1 of 1

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